                                                                                         Case 1:19-cv-00614-JTN-ESC ECF No. 56 filed 10/03/19 PageID.808 Page 1 of 2



                                                                                                                  UNITED STATES DISTRICT COURT
                                                                                                                  WESTERN DISTRICT OF MICHIGAN
                                                                                                                       SOUTHERN DIVISION

                                                                                        ANTHONY DAUNT, et al.,

                                                                                               Plaintiffs,                                   Case No. 1:19-cv-614 (Lead)

                                                                                        v.

                                                                                        JOCELYN BENSON, et al.,

                                                                                               Defendants.



                                                                                        MICHIGAN REPUBLICAN PARTY, et al.,
DYKEMA GOSSETT PLLC • Capitol View, 201 Townsend Street, Suite 900, Lansing, MI 48933




                                                                                               Plaintiffs,                                   Case No.: 1:19-cv-00669 (Member)

                                                                                        v.
                                                                                                                                             HON. JANET T. NEFF
                                                                                        JOCELYN BENSON, et al.,

                                                                                               Defendants.


                                                                                             CERTIFICATE OF COMPLIANCE REGARDING TYPE-VOLUME LIMIT AND
                                                                                                               TYPEFACE REQUIREMENTS

                                                                                               Plaintiffs’ Consolidated Response To Defendants’ Respective Motions To Dismiss And

                                                                                        Plaintiffs’ Consolidated Reply To Defendants’ Respective Responses To Motion For Preliminary

                                                                                        Injunction does not comply with the type-volume limitation of Local Rule 7.2(b)(ii), because,

                                                                                        excluding the part of the document exempted by this Rule, this brief contains more than 10,800

                                                                                        words. This brief contains 15,560 words and is accompanied by a motion to exceed word limit.

                                                                                               I further certify that, this brief complies with the typeface requirements of Local Rule

                                                                                        7.2(b)(ii). In preparation of the foregoing, I used Microsoft Word Office 365, and that this word
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                                                                                        processing program has been applied specifically to include all text, including heading,

                                                                                        footnotes, and quotations in the count.

                                                                                                                                         Respectfully submitted,



                                                                                         Dated: October 3, 2019                         /s/ Gary P. Gordon
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